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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

EQUAL EMPLOYMENT            )
OPPORTUNITY COMMISSION,     )
                            )                 CIVIL ACTION NO.
              Plaintiff,    )                 1:21-CV-00204-WMR-JKL
                           )
v.                          )
                           )
TREEHOUSE FOODS, INC., and )
TREEHOUSE PRIVATE          )
BRANDS, INC.,              )
                           )
              Defendants.  )


                              CONSENT DECREE

      The Equal Employment Opportunity Commission (the “Commission”)

instituted this action pursuant to Section 107(a) of the Americans With Disabilities

Act (“the ADA”), 42 U.S.C. § 12117(a), which incorporates by reference Sections

706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

Section 2000e-5(f)(1) and (3) and 2000e-6, and Section 102 of the Civil Rights Act

of 1991, 42 U.S.C. § 1981a. The Commission’s Complaint alleged that Defendants

Treehouse Foods, Inc. and Treehouse Private Brands, Inc. discriminated against

Deborah Turner (“Turner”), a former employee of TreeHouse Private Brands, Inc.’s

Forest Park, Georgia plant (“the Plant”), by denying her intermittent leave as a
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reasonable accommodation for her disabilities and by discharging her because of her

disabilities, in violation of the ADA.

      TreeHouse Foods, Inc. denied that it employed Turner, and Defendants denied

that Turner was refused reasonable accommodations required by the ADA and/or

otherwise discriminated against in violation of the ADA.

      The Commission and Defendants (collectively, “the Parties”) hereby stipulate

to jurisdiction of the Court over the Parties and agree that the subject matter of this

action is properly before the Court.

      The Parties have advised this Court that they desire to resolve the allegations

in the Complaint without the burden, expense, and delay of further litigation.

      It is therefore the finding of this Court, made on the pleadings and the record

as a whole, that: (1) the Court has jurisdiction over the Parties and the subject matter

of this action; (2) the purpose and provisions of the ADA will be promoted and

effectuated by the entry of the Consent Decree; and (3) this Consent Decree resolves

all matters in controversy between the Parties as provided in paragraphs 1 through

16 below.

      It is therefore ORDERED, ADJUDGED AND DECREED as follows:

      1.      Treehouse Private Brands, Inc. shall not, at any of its facilities in

Georgia, discharge a qualified employee due to their disability, and shall not
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discriminate against a qualified individual on the basis of disability in regard to job

application procedures or terms of employment by denying a reasonable

accommodation      for   known    physical   or   mental    limitations, unless    the

accommodation would impose an undue hardship.

      2.      Treehouse Private Brands, Inc. shall not, at any of its facilities in

Georgia, retaliate against any person because of their opposition to any practice

made unlawful under the ADA or because of the filing of a charge, the giving of

testimony or assistance, or the participation in any investigation, proceeding or

hearing under that statute.

      3.      TreeHouse Private Brands, Inc. shall pay Turner the sum of fifty

thousand dollars ($50,000.00) in settlement of the claims raised in this action. This

payment shall be made within ten (10) business days after the Court approves this

Consent Decree, and TreeHouse Private Brands, Inc. shall mail the check to Turner

at an address provided by the Commission. Within five (5) business days after the

check has been sent, TreeHouse Private Brands, Inc. shall send to the Commission

a copy of the check and proof of delivery to Turner.

      Beginning within ten (10) business days of the entry of this Consent Decree,

TreeHouse Private Brands, Inc. shall update its records to reflect that as of May 7,

2019, Turner reached full eligibility for retirement and is considered to have retired
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on May 7, 2019. Beginning in the month in which this Consent Decree is entered by

the Court and going forward for each month Turner is entitled to benefits under

TreeHouse Private Brands, Inc.’s retirement plan, Turner shall receive the full

benefits to which she would have been eligible had she been permitted to retire on

May 7, 2019.

      Neither the Commission nor TreeHouse Private Brands, Inc. or TreeHouse

Foods, Inc. make any representation, or assume any responsibility for any tax

liability, assessments, interest, penalties and/or costs that Turner may or may not

incur on such payments under local, state and/or federal law.

      4.    Within ten (10) business days of the entry of this Consent Decree by

the Court, the Plant shall eliminate from the employment records and personnel file

of Turner any and all documents, entries, or references of any kind relating to the

facts and circumstances which led to the filing of EEOC Charge Number 846-2019-

17004, to include any complaints of discrimination, her attendance record between

July 2018 and May 2019, the Plant’s internal communications regarding Turner’s

attendance record between July 2018 and May 2019, and the related events that

occurred thereafter, including the filing of her EEOC Charge and this litigation.

Within ten (10) business days of the entry of this Consent Decree by the Court,
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TreeHouse Private Brands, Inc. shall report compliance with this provision to the

Commission.

      5.     The Plant shall maintain and disseminate a formal, written ADA policy

(the “Policy”) which shall address the ADA’s prohibition of discrimination against

any person on the basis of disability within the meaning of the ADA and the process

and procedures for requesting and evaluating a reasonable accommodation under the

ADA. The ADA policy shall also include the following language: “A request for

leave as a reasonable accommodation will be considered, as leave may be a

reasonable accommodation if it will allow a qualified individual with a disability to

continue to work in the immediate future.”

      A copy of the Policy will be provided to the EEOC for review within thirty

(30) calendar days after the Court’s entry of this Consent Decree. Thereafter, copies

of the Policy will be distributed to each of the Plant’s employees and managers

within forty-five (45) calendar days after the Court’s entry of this Consent Decree.

New employees will receive a hard copy of the Policy on or before their first day of

work. A copy of the Policy shall be included in any relevant policy or employee

manual maintained by the Plant.

      6.     During the term of this Consent Decree, the Plant shall post a copy of

the policy described in paragraph 5 above in a place where it is visible to employees.
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If the policy becomes defaced or unreadable, the Plant shall replace it by posting

another copy of the policy. Within forty-five (45) calendar days after the Consent

Decree is entered, the Plant will post the policy and notify the Commission that it

has been posted.

      7.     During the term of this Consent Decree, TreeHouse Private Brands, Inc.

shall provide an annual training to all the Plant’s managers, supervisors, and

employees. Each training shall include an explanation of the requirements of the

ADA, including the reasonable accommodation requirements and the interactive

process. Each training shall also include an explanation of the Plant’s policy

referenced in paragraph 5 above, and an explanation of the rights and responsibilities

of employees and managers under the policy.

      The first training program shall be completed within sixty (60) calendar days

after entry of this Consent Decree by the Court. The subsequent training program

shall be conducted approximately one year later. At least fifteen (15) business days

prior to each training, TreeHouse Private Brands, Inc. shall submit to the

Commission an agenda for the training program by electronic mail sent to EEOC-

ATDO-decree-monitoring@eeoc.gov. TreeHouse Private Brands, Inc. should

presume that the agenda is approved unless contacted by the Commission regarding

the agenda within five (5) business days of submission of the agenda. Within ten
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(10) business days after completion of each training, TreeHouse Private Brands, Inc.

shall certify to the Commission the specific training which was undertaken and shall

provide the Commission with a roster of all employees in attendance.

      8.     Beginning within ten (10) business days after the entry of this Consent

Decree by the Court, and continuing throughout the term of this Consent Decree, the

Plant shall conspicuously post the attached Employee Notice, marked Exhibit A, in

a place where it is visible to employees. If the Notice becomes defaced or

unreadable, the Plant shall replace it by posting another copy of the Notice. Within

ten (10) business days after entry of this Consent Decree, TreeHouse Private Brands,

Inc. shall notify the Commission that the Notice has been posted pursuant to this

provision.

      9.     During the term of this Consent Decree, TreeHouse Private Brands, Inc.

shall provide the Commission with reports at six (6) month intervals, with the first

being due four (4) months after approval by the Court of this Consent Decree. The

reports will include the following information:

             A.    the identities of all individuals employed at the Plant who have
                   reported any incidents of disability discrimination, to include any
                   complaints that the individual was denied a reasonable
                   accommodation for their disability or discharged because of their
                   disability, including each person’s name, address, telephone
                   number, and position title;
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             B.     for each individual identified in 9.A above, explain what actions
                    were taken by TreeHouse Private Brands, Inc. in response to the
                    individual’s report;

             C.     for each individual identified in 9.A above, an explanation of
                    whether the individual’s employment status has changed in any
                    respect (for example, including but not limited to, termination,
                    firing, demotion, promotion, or to part-time from full-time); and

             D.     for each individual whose employment status has changed as
                    identified in 9.C. above, a detailed statement explaining why the
                    individual’s employment status has changed.

       Defendant shall provide the social security number of an individual identified

in response to 9.A. within seventy-two (72) hours of a request by the Commission.

       In the event there is no activity to report pursuant to this paragraph, TreeHouse

Private Brands, Inc. shall send the Commission a “negative” report indicating no

activity.

       10.   The Commission may review compliance with this Consent Decree. As

part of such review, the Commission may inspect the Plant’s facilities, interview

employees at the Plant, and examine and copy documents at the Plant. The

Commission will give TreeHouse Private Brands, Inc.’s contact designated in

Paragraph 13 of this Consent Decree twenty-four (24) hours’ notice before

undertaking any such review.

       11.   If at any time during the term of this Consent Decree the Commission

believes that TreeHouse Private Brands, Inc. is in violation of the Consent Decree,
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the Commission shall give notice of the alleged violation to TreeHouse Private

Brands, Inc. TreeHouse Private Brands, Inc. shall have ten (10) business days in

which to investigate and respond to the allegations. Thereafter, the parties shall then

have a period of ten (10) business days or such additional period as may be agreed

upon by them, in which to engage in negotiation regarding such allegations before

the Commission exercises any remedy provided by law.

      12.    The term of this Consent Decree shall be for eighteen (18) months from

its entry by the Court.

      13.    All notices to TreeHouse Private Brands, Inc. by the Commission

pursuant to this Consent Decree shall be sent by electronic mail to: Hillary Klein,

Husch Blackwell, LLP (hillary.klein@huschblackwell.com) and Scott Gross,

TreeHouse (scott.gross@treehousefoods.com). If at any time during the term of this

Consent Decree TreeHouse Private Brands, Inc’s designated point of contact

changes, TreeHouse Private Brands, Inc. shall notify the Commission and provide

contact information for a new designated point of contact within ten (10) business

days of the change.

      14.    All reports or other documents sent to the Commission by TreeHouse

Private Brands, Inc. pursuant to this Consent Decree shall be sent by electronic mail

to: (1) EEOC-ATDO-decree-monitoring@eeoc.gov; or (2) if by regular mail to:
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                            Marcus G. Keegan
                            Regional Attorney
                            Equal Employment Opportunity Commission
                            Sam Nunn Atlanta Federal Center
                            100 Alabama Street, SW
                            Suite 4R30
                            Atlanta, Georgia 30303

      15.   Each party shall bear its own costs and attorney’s fees.

      16.   This Court shall retain jurisdiction of this cause for purposes of

monitoring compliance with this Decree and entry of such further orders as may be

necessary or appropriate.




June 8, 2021
________________________
Date
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The parties jointly request that the Court approve and enter the Consent Decree:

EQUAL EMPLOYMENT                             /s/ Hillary L. Klein (w/e/p by Robyn
OPPORTUNITY COMMISSION                       M. Flegal)
                                             Hillary L. Klein
GWENDOLYN YOUNG REAMS                        Admitted Pro Hac Vice
Acting General Counsel                       Husch Blackwell LLP
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Regional Attorney
                                             Christopher G. Moorman
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/s/ Robyn M. Flegal                          Suite 1205
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Georgia Bar No. 599572                       Facsimile: 404.898.1241
Equal Employment Opportunity                 cgm@moormanpieschel.com
Commission
Atlanta District Office                      Attorneys for Defendants
100 Alabama Street, S.W.                     TreeHouse Foods, Inc. and
Suite 4R30                                   TreeHouse Private Brands, Inc.
Atlanta, Georgia 30303
E: robyn.flegal@eeoc.gov
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Attorneys for Plaintiff EEOC

AND
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 EQUAL EMPLOYMENT            )
 OPPORTUNITY COMMISSION,     )
                             )                          CIVIL ACTION NO.
               Plaintiff,    )                          1:21-CV-00204-WMR-JKL
                            )
 v.                          )
                            )
 TREEHOUSE FOODS, INC., and )
 TREEHOUSE PRIVATE          )
 BRANDS, INC.,              )
                            )
               Defendants.  )

                                     EMPLOYEE NOTICE

1.      This Notice is posted pursuant to a settlement between the U.S. Equal Employment
Opportunity Commission and Treehouse Private Brands, Inc. (“TreeHouse”) in a case alleging
discrimination on the basis of disability. Specifically, the U.S. Equal Employment Opportunity
Commission alleged that Treehouse discriminated against an employee by purportedly denying
her requests for intermittent leave as a reasonable accommodation for her disabilities and by
terminating her employment because of her disabilities. TreeHouse denied the allegations but
agreed to resolve the matter with the EEOC. As part of the settlement, Treehouse agreed to pay
monetary damages to the employee and to take other actions set out in the Consent Decree
resolving this matter.

2.    Federal law requires that employers not discriminate against any employee or applicant for
employment because of the individual’s race, color, religion, sex, national origin, age (40 or older),
genetic information, or disability. Federal law also prohibits retaliation against employees because
they have opposed unlawful employment discrimination, or because they gave testimony or
assistance in or participated in an employment discrimination investigation, proceeding, or
hearing, or otherwise asserted their rights under the laws enforced by the U.S. Equal Employment
Opportunity Commission.

3.       Treehouse Foods will comply with such federal law in all respects. Furthermore,
Treehouse Foods will not take any actions against employees because they have exercised their
rights, reported an alleged violation under the law or given testimony, assistance, or participation
in any investigation, proceeding, or hearing conducted by the U.S. Equal Employment Opportunity
Commission.

4.     An employee has the right, and is encouraged to exercise that right, to report allegations of
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employment discrimination in the workplace. An employee may contact their local U. S. Equal
Employment Opportunity Commission field office for the purpose of filing a charge of
employment discrimination. To locate the nearest field office, contact:

                         Equal Employment Opportunity Commission
                                    131 M. Street, N.E.
                                  Washington, DC 20507
                                   TEL: 1-800-669-4000
                                   TTY: 1-800-669-6820

5.     This Notice will remain posted for at least eighteen (18) months by agreement with the
U.S. Equal Employment Opportunity Commission. DO NOT REMOVE THIS NOTICE UNTIL:
_______, 2022.


                                                                              EXHIBIT A
